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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION


    TIMOTHY JACKSON,
         Plaintiff,

    v.                                                               C.A. No. 4:21-cv-00033

    LAURA WRIGHT, ET AL.,
         Defendants.


                               DEFENDANTS’ NOTICE OF APPEAL

         Defendants, Laura Wright, Milton B. Lee, Melisa Denis, Mary Denny, Daniel Feehan,

A.K. Mago, Carlos Munguia, and G. Brint Ryan, each in their official capacities as members of the

Board of Regents for the University of North Texas (“UNT”) System (“Board Defendants”);

Rachel Gain; Ellen Bakulina; Andrew Chung; Diego Cubero; Steven Friedson; Rebecca Dowd

Geoffroy-Schwinden; Benjamin Graf; Frank Heidlberger; Bernardo Illari; Justin Lavacek; Peter

Mondelli; Margaret Notley; April L. Prince; Cathy Ragland; Gillian Robertson; Hendrik Schulze;

Vivek Virani; and Brian F. Wright (“Defamation Defendants”) (collectively “Defendants”), file

this Notice of Appeal to the United States Court of Appeals for the Fifth Circuit from the Order

entered on January 18, 2022. 1 Defendants moved to dismiss all claims based on, among other

things, sovereign immunity and Plaintiff’s lack of standing. 2

         The order denying the motion to dismiss is immediately appealable under the collateral

order doctrine. 3 This notice divests this Court of jurisdiction during the pendency of the appeal



1
  Dkt. 47.
2
  Dkt. 8, 21.
3
  Whole Woman's Health v. Jackson, 21-50792, 2021 WL 4128951, at *6 (5th Cir. Sept. 10, 2021) (“Our court has
jurisdiction under the collateral order doctrine to immediately review the State Defendants’ appeal contesting the


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because Defendants asserted threshold jurisdiction challenges against all claims brought by

Plaintiff in this lawsuit. 4 And this Court has exercised supplemental jurisdiction over state law

claims based on its finding that “both the First Amendment and the defamation claims arise from

a common nucleus of operative fact.” Dkt. 47 at 27. Thus, this appeal will necessarily subsume and

address all aspects of this Court’s order. Based on the cited Fifth Circuit precedent, all proceedings

in this Court are suspended pending resolution of the appeal.

Dated: February 1, 2022

                                                       Respectfully Submitted.

                                                       KEN PAXTON
                                                       Attorney General of Texas

                                                       BRENT WEBSTER
                                                       First Assistant Attorney General

                                                       GRANT DORFMAN
                                                       Deputy First Assistant Attorney General

                                                       SHAWN COWLES
                                                       Deputy Attorney General for Civil Litigation

                                                       THOMAS A. ALBRIGHT
                                                       Division Chief
                                                       General Litigation Division

                                                       /s/ Courtney Corbello
                                                       COURTNEY CORBELLO
                                                       Attorney-in-Charge
                                                       Assistant Attorney General
                                                       Texas State Bar No. 24097533
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order denying their Eleventh Amendment immunity defenses.”); see also P.R. Aqueduct & Sewer Auth. v. Metcalf &
Eddy, Inc., 506 U.S. 139, 141 (1993); City of Austin v. Paxton, 943 F.3d 993, 996 (5th Cir. 2019).
4
  See Whole Woman's Health, 2021 WL 4128951, at *6 (“[T]he notice appealing the order ‘divest[s] the district court
of its control over those aspects of the case involved in the appeal.’”) (quoting Griggs v. Provident Consumer Disc. Co.,
459 U.S. 56, 58 (1982)); see also Wooten v. Roach, 964 F.3d 395, 412 (5th Cir. 2020); Williams v. Brooks, 996 F.2d 728,
729–30 (5th Cir. 1993).


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                               CERTIFICATE OF SERVICE
    I certify that on February 1, 2022 the foregoing was filed electronically via the Court’s
CM/ECF system, causing electronic service upon all counsel of record.

                                                   /s/ Courtney Corbello
                                                   COURTNEY CORBELLO
                                                   Assistant Attorney General

                                  NOTICE OF ELECTRONIC FILING
       I, COURTNEY CORBELLO, Assistant Attorney General of Texas, certify that I have
electronically submitted for filing, a true and correct copy of the above and foregoing in accordance
with the Electronic Case Files system of the United States District Court for the Eastern District
of Texas, on February 1, 2022.
                                                    /s/ Courtney Corbello
                                                    COURTNEY CORBELLO
                                                    Assistant Attorney General




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